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UNITED STATES DISTR.I_CT COURT
NORTHERN DISTRICT OF ILLINOIS

   

EASTERN DIVISION
DARYL MURPHY ) _ @ §
) - 1 __ _
Plaintiff, )
) EMJOHN W DARRAH.
v. )

)
EDDIE MURPHY, EDDIE MURPHY 55 LEV¥H Q 13
PRODUCTIONS, INC. a Califomia corporation; WG‘§TIE§§.E wm 'g» 'C_
LARRY WILMC)RE, STEVE TOMPKINS; ) g '“='
RON HOWARD; TONY KRANTZ; BRlAN

GRAZER; TOM TURPIN; wILL leTON; §§ ,.,J high
wARREN BELL; WILL leTON STUDIOS, »+:" § 3 ':__»":
Nc., an Oreg<m Corporation; IMAGINE TELEVI- §§ -.: §
SION, a California general partnership; \ ;CU § 177
TOUCHSTONE TELEVISION ~'

 

COMPANY, INC., a Delaware Corporation;
WARNER BROS. TELEVISION, A DIVISION
OF TIME WARNER ENTERTAINMENT

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PRODUCTIONS, LLC; FOX BROADCASTING ) MAY 3 g zggq 7
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COMPANY, L.P., Delaware Limited Partnership. )
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Defendants.

COMPLAINT FOR DECLARATORY JUDGMENT AND DAMAGES FOR
COPYRIGHT INFRINGEMENT AND JURY DEMAND

NOW COMES PLAINTIFF, DARYL MURPHY, by his attorneys, Peter A. Cantwell
and Paul H. Scheuerlein, and for his Complaint against Defendants, EDDIE MURPHY,
EDDIE MURPHY PRODUCTIONS, INC. a California corporation; LARRY WILMORE,
STEVE TOMPKINS; RON HOWARD; TO'NY KRANTZ; BRIAN GRAZER; TOM
TURPIN; WILL VINTON', WARREN BELL; WILL VINTON STUDIOS, INC., an Oregon

Corporation; IMAGINE TELEVISION, a California general partnership; TOUCHSTONE
TELEVISION PRODUCTIONS, LLC; FOX BROADCASTING COMPANY, INC., a

Delaware corporation; and WARNER BROS. TELEVISION, A DIVISION OF TIME

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WARNER COMPANY, L.P., a Delaware limited partnership, states as follows: ‘
Nature of the Case

1. This case complains of blatant copyright infringements by Defendants, by
their unauthorized use of MURPHY’$ videotape (the “Videotape”), subject matter of which
was used for a television program called The PJs (“The PJs”) which aired for almost two and
one-half years in this district, first on a Fox channel, then on a Warner Brothers television
charmel. People filmed by MUR_PHY, are depicted on The P.ls, a cartoon sit-com, that used a
foamation process to make its cl'iaractersl As alleged in this Complaint, there are striking
similarities between people depicted on the Videotape as well as scenes, scenery and one
frequently made statement on the Videotape.

The Parties

2. Plaintiff Daryl Murphy (“MUR.PI-IY”) is a documentary film maker,
operating his business, KEEP IT REAL MOVIE PRODUCTION, in Chicago, Illinois, more
Specifically, within and near the Chicago housing projects

3. MURPHY is and was at all times mentioned in this Complaint a resident of
the City of Chicago, in the State of Illinois.

4. Defendant Eddie Murphy (“EDDIE”), a creator and one of the executive
producers, and the voice for the character Thurgood Stubbs, a janitor in the projects, depicted
on the PJs, is a well-known entertainer, whose television shows, including the PJs, and
movies are shown internationally, including on numerous television stations and movie
screens in the state of lllinois, and in this district, and on information and belief EiDDIE
resides in Los Angeles, CA.

5. MURPI-IY is informed and believes, and on that basis alleges, that Defendant

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Eddie Murphy Productions, Inc. (“Murphy Productions”) is a Califomia corporation, and
listed as the first production company in the credits for a television show called the PJs,
which was aired in the state`of Illinois, in Cook County, as well as throughout the United
States, in Canada and in England for varying periods beginning in January, 1999.

6. Defendant, Larry Wilmore, is one of the creators and one of the executive
producers of the PJs, and on information and belief resides in California.

7. Defendant, Steve Tompkins, is one of the creators and one of the executive
producers of the PJs, and on information and belief resides in California.

8. Defendant, Ron Howard, one of the executive producers of the PJs, is a well-
known actor, and director, and on information and belief resides in Connecticut.

9. Defendant, Tony Krantz, is one of the executive producers of the P.Ts, and, on
information and belief resides in California.

lO. Defendant, Brian Grazer, one of the executive producers of the PJs is a writer
and producer, and on information and belief resides in California.

11. Defendant, Tom Turpin, one of the executive producers of the PJS, was at all
pertinent times related to this Complaint president of Defendant, Will Vinton Studios, and on
information and belief resides in California.

12. Defendant, Will Vinton, one of the executive producers of the PJS, is
chairman of Defendant, Will Vinton Studios, Inc. and on information and belief resides in
Oregon.

13. Defendant, Warren Bell, is one of the executive producers of the PJs, and on
information and belief resides in California.

14. Defendant, Will Vinton Studios, Inc., on information and belief, is an Oregon

 

 

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corporation, with its principal place of business in Portland, Oregon.

15. Defendant, Imagine Television, on information and belief, is a California
general partnership, with its principal place of business in Los Angeles, CA.

16. Defendant, Touchstone Television Productions, LLC, on information and
belief is a Delaware limited liability company, whose sole member was ABC, Inc,
incorporated in New York, with its principal place of business in New York.

17. Defendant, Fox Broadcasting Company, Inc., on information and belief, is a
Delaware Corporation, authorized as a foreign corporation to do business in Illinois, with its
principal place of business in Los Angeles, CA.

18. Defendant, Warner Brothers Television, a division of Time Warner
Entertainment Company, L.P., on information and belief, is a Delaware limited partnership,
with its principal place of business in New York.

Jurisdiction

19. Jurisdiction is proper under the Federal Copyright Act of 1976, as amended,
17 USC §§ 101 et seq. This Court has jurisdiction pursuant to Sections 133 8(a) and 1338(b)
of the Judicial Code (28 USC §§ 1338 (a), 133 S(b)). Jurisdiction is also proper in this Court
under Section l332(a)(1) of the Judicial Code (28 USC §1332(a)(1) because the parties are
diverse, MURPHY, being a resident of Illinois and all Defendants, being incorporated
outside Illinois, if corporations, or resident outside Illinois if individuals, and the amount in
controversy exceeds $75,000 without costs and attorney’s fees.

_Ven_ue
20. Venue in this district is based on Section 1391 of the Judicial Code (28 USC

§1391) and Section 1400(a) of the Judicial Code (28 USC §1400(a) because Defendants

 

 

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have collectively had significant involvement with the creation, production and broadcast of
the The PJS, which began to be broadcast in the state of Illinois, on the Fox Channel 32, in
the district in which this Court is located, in the second week of January, 1999 and had been
broadcast on almost a weekly basis through May, 2001. Venue is also based on Section 1391
because at least one named defendant maintains a registered agent in this district, and is
subject to personal jurisdiction in this district. Venue is also proper in this district because
MURPHY’S injuries occurred in this district,

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21. l\/lURPl-IY was raised in, and lived in the Robert Taylor Homes, for the first
20 years of his life. The Robert Taylor Homes is also known as one of the buildings in the
Chicago Housing Authority projects.

22. Beginning in mid-l997, l\/[URPHY took video pictures of many subjects in
the projects; frequently, representing himself and referring to himself on his videotapes, as
“Daryl Murphy, Keep It Real Movie Production.”

23. MUR.PHY would frequently walk through the projects on the Southside of
Chicago, specifically, Robert Taylor Homes, Stateway Gardens and the Ida B. Wells
Apartments with a video camera, and filmed life in the projects as he saw it, through his
trained eye as a videographer, as well as through the eyes of a person who experienced that
life.

24. Many subjects were covered in his films, including, interviews with
individuals who lived, or once lived in the projects; scenery; buildings; signs; traffic
intersections, and personal home scenes.

25. MURPHY also filmed family gatherings at his late mother’s bungalow-style

 

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home, a residence she moved to after she left the projects.

26. In 1997, MURPHY began to film specific individuals including a man who
uses a voice box to speak, named Tally Collier, a heavy set child, with a chubby face, named
Derrick Pittman, a skinny middle-aged man, named Lester Jackson, a middle-aged lady
named Theoada Griffin, a middle-aged man named Walter Hale, as well as certain of his
relatives, including his late mother Katie Murphy Foster.

27. MURPHY painstakingly worked on the Videotape for many months, choosing
the subj ects, the time of day, the location, filming and interviewing the subjects, the majority
of whom were filmed in the Chicago Housing Projects, controlling all of the videotaping,
deciding on the final product, and completing the Videotape by the very early months of
1998.

28. The Videotape itself, as one work, is material able to be copyrighted

29. Murphy has applied for registration of copyright for one of the Videotape
which shows the aforesaid mentioned individuals and scenery.

30. MURPHY is and has always been the sole owner, and claims the entire right,
title and interest in the Videotape and the copyright in and to all material which appears on
the Videotape.

31. In and about early 1998, and from time to time, MURPI-IY alleges that, Oprah
Winfrey, an internationally known celebrity talk-show host, had made requests for ideas for
shows. Since MURPHY lived in the Chicago Housing Association projects for 20 years and
continued to film there, and, since Murphy suspected that the projects would be torn down
someday, knowing when the teardown bcgan, all the history and experiences, both positive

and negative would die with the wrecking ball, he decided to propose to Oprah Winfrey in a

 

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letter attached hereto as Exhibit A, and incorporated by this reference, an idea for a show,
based on the Videotape

32. MURPHY did all the work to produce the Videotape, composed the material,
and conducted the interviews, and is the copyright owner of all the material on the
Videotape, and claims ownership to any derivations, modifications or other uses of the
Videotape or parts thereof.

33. MURPHY gave no individual or entity permission to do anything with the
Videotape, except as stated in Exhibit A.

34. MURPHY gave no individual or entity approval to use the Videotape for
purposes of profit, or in any commercial sense or for any commercial venture.

35. On or about April 18, 1998, after completing the filming for the Videotape,
MURPHY composed Exhibit A.

36. Within a very short period of time after MURPHY wrote Exhibit A,
MURPHY mailed by certified mail, return receipt requested, the Videotape, a business card,
and Exhibit A, directly to Oprah Winfrey at Harpo' Productions, in Chicago, IL. Shortly
thereafter, MURPHY received the green card confirming receipt of the package.

37. After mailing the Videotape, and receiving confirmation, MURPHY did not
hear anything from Oprah Winfrey, or any of the other individuals specifically mentioned in
his letter, to whom he asked Oprah Winfrey to pass on the Videotape; Spike Lee, Tom
Hanks, Quincy Jones, Ron Howard or Fred Williainson.

38. Since the date MURPHY mailed the Videotape, he never heard anything from
Oprah Winfrey, any representative connected with her organization, or any of the other

individuals mentioned in Exhibit A.

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39. Approximately nine months later, a new television program appeared on Fox
Channel 32, and aired in Chicago. On information and belief, it is alleged the new program
aired in all maj or and many minor television markets throughout the United States. The name
of the show was The PJs, created by EDDIE and Larry Wilmore and Steve Tompkins. Ron
Howard and Brian Grazer were executive producers. Quincy J ones was also involved. The
credits list EDDIE as the creator, thereafter the other names follow.

40. Ron Howard and Quincy J ones are both names which appear in Exhibit A.

41 . EDDIE and Ron Howard have previously worked together on entertainment
projects, the movies “Boomerang”, “The Nutty Prof`essor”, “The Nutty Professor ll” and
“The Klumps.”

42. lt is undisputed that EDDIE and Ron Howard worked together on the PJs.

43. The PJs, set as a cartoon in an urban housing project fictitiously named
Hilton-Jacobs, was intended as a sit-com to show life in the projects. lt won two or more
Ernrny awards. In particular, it won an Emmy Award for the voice of the character of Mrs.
Avery (Janet DuBois). It was also nominated for other Ernmy Awards for Outstanding
Animated Prograrn, for the episode “He’s Gotta Have It”; and for Outstanding Main Title
Theme Music.

44. Based on the date and content of Exhibit A, and the timing of the airing of the
PJs, MURPI-IY believes that the Videotape was passed to one or more of the persons listed in
Exhibit A, thereby providing access to either the creators of the PJs, or to one or more
executive producers

45. As shown below, the number of coincidences between the material on the

Videotape, and the actual television show, the P.Is are far too numerous and in some instance,

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personal, to be mere coincidence, and on that basis, MURPHY alleges that the numerous
coincidences occurred because the material on the Videotape was viewed and used, all of
which was without MURPHY’s approval

46. MURPI-IY is informed and believes, and on that basis alleges that EDDIE and
the other defendants involved in the creation and production of the show, had notice as to
whose Videotape it was, how it was obtained, and how MUR.PHY, the Videotape maker
could be contacted. Throughout his filming of the Videotape, MURPH';’ states this is Daryl
Murphy, Keep lt Real Movie Production, and provided his card with the letter sent to Oprah.
The card included his telephone number.

47 . EDDIE and the other defendants involved in the creation and production of
the PJs, once received, possessed and took control of the Videotape; used portions to their
benefit, in helping to create, and/or assisting in the production of the PJ s television program;
and improperly and deceptively realized profits, gains and advantages, all without notifying,
giving credit to, acknowledging or obtaining permission from l\/lURl:’I-IY.

48. MURPHY is informed and believes, and on that basis alleges the defendants
who purchased the PJs, or entered into one or more contracts with EDDIE and the other
defendants involved in the creation and production of the show, have also realized profits,
gains and advantages, based on the airing and advertising of the PJs, all of which come from _
an unauthorized derivative work made from the Videotape.

49. MURPHY is informed and believes, and on that basis alleges that EDDIE, as
the PJs creator and one or more other defendants knowingly used material and information
from the Videotape he knew was not his original creation, such as, but not limited to, footage

specifically depicting people which were recast as foamation characters, scenery, shots of

 

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Chicago Housing Authority buildings, and facts from lives of certain people filmed on the
Videotape, which EDDIE and the other defendants involved in the creation and production of
the show could not have known, imagined or thought up independently

50. MURPHY is informed and believes, and on that basis alleges EDDIE Was
previously involved at least once, in unsuccessful litigation based on the use of another’s
material, where there were alleged coincidences related to the movie “Coming to America”
and the treatment by Art Buchwald titled, “King F or A _Day.”

51. To MURPHY’S amazement, The P.ls not only used parts of the scenic footage
MURPHY included in the Videotape, but also used the identifiable likeness of no less than
three or more individuals from the Videotape, as the models for the foamation characters;
used facts from at least one or more character’s lives, which could not been known; and used
or paraphrased direct verbal remarks, also stated or implied on the Videotape.

52. MURPHY never gave verbal or written permission for his copyrighted work
to be used in any medium, for any purpose, by anyone, or any entity other than to be shown
on the Oprah Winfrey show. To the best of MURPHY’S knowledge, the Videotape was not
shown on the Oprah Winfrey Show.

53. Since the likenesses and scenery is so identifiable, as to tie them to persons,
living, or frequenting the Chicago Housing Authority projects where MURPHY filmed,
MURPHY has been stopped by many people in the Chicago Housing Authority projects,
because of the belief that he is a part of, or involved With the PJs, and has profited from that
program.

54. MURPHY has been accused of selling out his neighborhood, since he has not

returned to the community any of the money his neighbors, believe he has earned from the

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PJs, or any other revenue streams which might have resulted from the television program,
none of which have, in actuality, been received by MURPI-IY.

55. MURPHY has assured these people that he has not received anything
MURPHY insists that he found out about the P.ls the same way they did, by watching it on
television

56. Tally Collier’s identifiable likeness, seen and then taken directly from the
Videotape, and Tally Collier’s gestures and voice were the basis for and closely resemble the
character Sanchez. Both the individual in real life (Tally Collier) and the character on the
PJs (Sanchez) are African-American, use a voice box to speak (a rare occurrence in society
as a whole, let alone an African-American male from a housing project), have similar head-
neck placement, have similar dark eyebrows, have jowled cheeks, although Sanchez’s are
exaggerated, have a similar nose, have a chin which ends in an elongated rectangular shape,
with Sanchez being the only main character on-the PJ s with that characteristic; and are
similarly built. Additionally, Tally Collier’s wife is deceasedl The PJs character Sanchez’s
wife is also deceased, a particularly strange coincidence, given the identifiable likeness and
the voice box.

57. MURPHY believes none of the other characters have or talk about a deceased
wife on the PJs. The odds that EDDIE or any of the writers on the PJs could come up with a
character who uses a voice box to speak, looks strikingly like a person who appeared and was
interviewed on the Videotape, has similar gestures, and laments about his dead wife, are
practically astronomical, if not impossible The only way EDDIE and those other defendants
involved with the P.Ts could have created Sanchez, is to have viewed Tally Collier on the

Videotape.

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58. The PJs characters were made with big heads and small bodies. If the
proportions were to scale, Sanchez would further resemble Tally Collier.

59. MURPHY also filmed others in the Videotape who resemble characters on the
PJs, such as Derek Pittman for the character Juicy and Katie Murphy Foster for the character
Mrs. Avery.

60. After watching the P.l s numerous times, MURPHY also believes, and on that
basis alleges that there are other characters that were modeled after the individuals in the
Videotape.

61. MURPHY has seen, during various parts of the PJs program, either at the
beginning, after a commercial break, or at the end, depending on the episode, depictions he
believes, and on that basis alleges are buildings which come directly from the Videotape.
They are pictures of buildings which most closely resemble the Robert Taylor Homes as they
appear on the Videotape.

62. MURPHY believes, has heard while watching the PJs, and on that basis
alleges, that certain remarks made on the PJs program came directly from, or the idea was
taken directly from the material on his Videotape, such as the character Muriel stating she is
a documentary film producer, l\/lUR.PHY’s very occupation

63. Many of the people MURPHY filmed and has known for years in the
Chicago Housing Authority proj ects, have told him that they don’t understand how he,
MURPHY cannot be involved, since the people they know, and live with, have been made
into cartoon characters and were some of the stars on the PJS (Sanchez, Juicy, Mrs. Avery to
name a few).

64. These could not all be total coincidences. The only way this could have

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happened is if Defendant, EDDIE, and one or more of the other named Defendants involved
in the creation, writing and production of the television program viewed and used material
from the Videotape.

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I)ECLARATORY JUDGMENT

 

65. MURPHY realleges each and every allegation set forth in Paragraphs 1
through 64 inclusive, and incorporates them herein by this reference,

66. Count I arises under the copyright laws of the United States 17 USC § 101 et
seq.

67. An actual controversy has arisen and currently exists between MURPHY and
Defendants since MURPHY contends and defendants deny that defendants infringed
MURPHY’s copyright in the Videotape and made use of his filming, the subjects, statements,
scenes and scenery for the The PJs; and MURPHY desires a judicial determination of this
issue.

68. lt is necessary and appropriate to have this type of a declaration made at this
time in order that MURPHY may ascertain his rights to compensation and credit for his
contribution to The PJs.

69. Pursuant to USC § 2201, MURPHY requests this Court to issue a decree
declaring that the P.ls could not have been made with the characters and scenery used in it,
without the defendants first viewing the Videotape, in particular with reference to the
character Sanchez, MURPHY alleges shares more than eight characteristics with Tally
Collier, including the use of a hand-held voice box.

70. Certain identifiable characters, depiction of buildings and neighborhood

scenes, and verbal utterances, depicted, shown and made on and during the television

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program The PJs can all be traced to material on the Videotape.
WHEREFORE, Plaintiff, DARYL MURPHY prays for judgment in his favor and
against all named defendants, set forth, as follows:
l) That the Court issues a declaration that The PJs television program resulted in
Whole or in part from the Videotape created by MURPHY.
2) Reasonable attorney’s fees and costs of this action.
3) All further relief this Court deems just and proper under the circumstances
COUNT II

COPYRIGHT INFRINGEMENT

71. MURPHY realleges each and every allegation set forth in Paragraphs 1

through 64 inclusive, and incorporates them herein by this referencel

72. MURPI-IY was not consulted, nor did he give written or verbal permission to
any person or entity to commercially exploit his copyrighted Work, or any portion of his
copyrighted work.

73. Without contacting MURPHY, without notifying MURPHY, and without
giving credit to MURPHY for any portion of the television program, The PJs, for use of the
material on the Videotape, Defendants created, developed, produced, marketed, broadcasted
thousands of times, and in one form or another profited from the popular, Emmy Award
winning television program, the PJs, from January, 1999 through the 2001 television season.

74. MURPHY’s copyright was infringed each time the show aired, and if The PJ s
goes into syndication, at any time in the future, or if the show is being shown anywhere at the

time this complaint is filed, MURPHY’s copyright was and will be infringed each time the

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The PJs is aired; each time it was and is advertised; each time a web-site was and is accessed,
related to the official or unofficial information available at the web-site; each time a licensed
product derived from the characters if any, was and is sold.

75. Defendants have infringed MURPHY’s copyright thousands of times, each
representing an individual infringement, between January, 1999 and the filing date of this
Cornplaint, with the potential for numerous future copyright infringements, each time any of
the above occurs

76. On information and belief, one or more, if not all the named defendants
profited, received advantages and gains, and/or will continue to profit, receive advantages
and gains from their or its individual or collective involvement with and relationship to the
television program, The PJs, directly and/or indirectly, as follows:

1) Direct payments for creation of the program.

2) Direct payments, with the potential for royalties from advertising revenue, or
other forms of revenue for sale of the program to one or more networks, or
broadcasting companies, for broadcast purposes

3) Direct payments for licensing products if any derived from the characters

4) Direct payments from the sale of television advertising time.

5) Direct payments for future syndication if any, and/or the sale of any and all rights
to re-run all or a portion of the episodes

6) Indirect payments, and gains, in the form of increased exposure, and advertising,
each time an official web-site (for ex. WB-PJ s web-site), or an unofficial web-site
was or is accessed, and pictures of the P.ls characters, or information about the PJs

was or is provided

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7) Indirect payments, and gains, leading to greater revenues after the program won
each Emmy Award.
8) MURPHY is entitled to all or a significant portion of Defendants’ profits, gains
and advantages, resulting from this unauthorized use of the Videotape
WHEREFORE, Plaintiff, DARYL MURPHY prays for judgment in his favor and

against all named Defendants, set forth, as follows:

1) That this Court finds that defendants have infringed MURPHY’s copyright in the
Videotape
2) Actual damages in an amount to be determined after a trial on the merits;
3) All profits attributable to infringement of MURPHY’s copyright in accordance
with proof.
4) Punitive and exemplary damages in the amount of $10,000,000.
5) Any accounting by defendants for all gain and/or profits and advantages derived
from their acts of infringement
6) That all gains and/or profits and advantages derived by defendants from acts of
infringement be deemed to be held in constructive trust for MURPHY’s benefit.
7) Reasonable attomey’s fees, and all costs of this action.
8) All further relief this Court deems just and proper under the circumstances
COUNT III

FEDERAL UNFAIR COMPETITION

 

78. MURPHY realleges each and every allegation set forth in Paragraphs l
through 64 and 71 through 77, inclusive, and incorporates them herein by this reference

79. By their extensive use of the subject matter on the Videotape, by failing to

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provide notice to MURPHY, and obtain MURPHY’s approval, Defendants have engaged in,
and are continuing to engage in acts of wrongful deception of the viewing public, wrongful
designation as to the creation of The PJs program, wrongful withholding of MURPHY’s right
to public recognition and the right to credit as videographer, and Videotape producer and
director.

80. MURPHY’s action concerning Defendants’ unfair competition is related to,
but, a separate cause of action, from MURPHY’s “substantial” copyright infringement
actions, since both causes of action are based on the same operative facts

81. After the PJs program first aired in January, 1999, and continuously after that
date, Defendants collectively wrote, created and produced new episodes, marketed and
broadcast the show, reaped profits from all those activities, as well as advertising, all without
MURPHY’s approval for the use of his material on the Videotape, or acknowledging
MURPI-IY’s role This conduct constitutes unfair trade practices and unfair competition
under the Lanham Act.

82. Further, Defendants claim a copyright in and to The PJs television program,
without acknowledging the input the Videotape has had in the process of creating the
copyrighted television program. Since the copyright is based in part on MURPHY’s work,
who, himself, claims the copyright to the Videotape, from which many of the characters were
derived, street and building scenes were taken, and verbal comments were borrowed, the
copyright contains false and misleading statements of contribution to development of the PJs
program, and constitutes additional acts of unfair trade practices and unfair competition, all
of which have deprived and damaged MURPHY, and have produced profits, gains and

advantages for defendants

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WHEREFORE, Plaintiff, DARYL MURPHY prays for judgment in his favor and
against all named defendants set forth, as follows:

1) Damages in an amount to be determined after a trail on the merits for unfair and
deceptive trade practices;

2) Punitive and exemplary damages in the amount of $l0,000,000.

3) An accounting to determine all gains, profits and advantages derived by
Defendants as a result of their unfair trade practices and unfair competition;

4) Reasonable attorney’s fees, and all costs of this action.

5) All further relief this Court deems just and proper under the circumstances

Plaintiff Daryl Murphy hereby demands trial by jury on all issues triable to the jury.

Respectfully submitted,

 

Peter A. Cantwell

Paul H. Scheuerlein

CANTWELL & CANTWELL

30 North LaSalle Street, Suite 2850
Chicago, IL 60602

312-372-3000

Attorney No. 91775

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Case: 1:O4-cv-03496 Document #: 1 Filed: 05/19/04 Page 19 of 24 Page|D #:19

`EXHIBIT A

   
   

 

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Civil Cover Shee m Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

Civil Cover Shee@g_§t@ @dt

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The
information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. This form is authorized for use Q_n_ly in the Northem District of Illinois.

 

 

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tenured ' " - 5
Defendant($): EDDIE MURPHY, EDDIE

MURPHY PRODUCTIONS, INC. a California

   

 

D§KE‘E'§R corporation; LARRY WILMOIR, sT “__
ToMPKINs; RoN HowARI) C"i“oi\r\§_: t;
MAY 2 0 2004 KRANTz; B7RIAN GRAzER; EJRHN;

wILL erroN; wARREN ligfi?? v,ggLL_§C_,_
_ VINTON STUDIOS, NC., an Qnegbn .__3 .

Plaintiff(s): Daryl Murphy Corporation; IMAGINE TEL TSI®,D a -;"‘
California general partnershi OU€_HS'EONE
TELEVISION PRODUCTIO ,LLC; F§X
BRoADCAsTING CoMPANY', INC""7 a w
Delaware Corporation; WARNER BRO .
TELEVISION, A DIVISION OF TIME
WARNER ENTERTAINMENT COMPA Y,
L.P., Delaware Limited Partnership.

County of Residence: Cook County of Residence:
Plaintiffs Atty: Peter A. C_antwell, Paul H. Defendant's Atty: Mal_k Blocker
Scheuerlein

Sidley Austin

cAN'rWELL & cANrWsLL .
30 N_ insane st_, ste 2850, III‘_) §(')§§arb°m St" Ch‘cag°’
chicago, 1L 60602

312_372-30(]0 312-853-7000

 

11. Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

HI. Citiz§nsmp of Princip_z-t_l
PartieS (Diversity Cases Only)
Plaintiff:- 1 Citizen of This State
Defendant:- 5 Non IL corp and Principal place of Business outside IL

ly. Origin : 1. Original Proceeding
y. Nature of Suit: 7 820 Copyrights
Y_l.Cause of Action: 17 USC 101 et seq Copyright infringement based on the

unauthorized use and exploitation of a Videotape made in Chicago
to create or assist in the making of a popular television program

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Case: 1:04-Cv-03496 Document #: 1 Filed: 05/19/04 Page 23 of 24 Page|D #:23
Qi_yil Cover Sheet /.\ _f~\ Page 2 of 2

called the PJs.
VII. Requested in Complaint
Class Action: No
Dollar Detnand: monetary damages and declaratory relief
Jury Demand: Yes

_VIII. This case IS NOT a refiling of a previously dismissed case.

 

 

Signature: L

 

 

Date:

 

If any of this information is incorrect, please go back to the Civii Cover Sheet Input form using tBerck button in your browser and change it.
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UNITED sTATEs DISTRICT CoURT
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NORTHERN DISTRICT OF ILLINOIS
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In the Matter of
Daryl Murphy, Plaintiff

v.
Eddie Murphy, et al,, Defendants

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

 

 

 

 

 

Daryl Murphy, Plaintiff c § ii
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Peter A. Cantwel

r "".,
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